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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Optio Rx, LLC, et al.,                                          Case No. 24-11188 (TMH)

                     Debtors. 1                                     (Joint Administration Pending)



             NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS AND RELATED
               DOCUMENTS AND (II) AGENDA FOR THE HYBRID HEARING
                  TO CONSIDER FIRST DAY MOTIONS SCHEDULED FOR
                      JUNE 11, 2024, AT 10:00 A.M. (EASTERN TIME)


    This hybrid hearing will be conducted in person and utilizing Zoom. All remote participants are
      required to register in advance using the eCourt Appearances tool available on the Court’s
    website (http://www.deb.uscourts.gov/ecourt-appearances). The Debtors, the lenders, and the
    UST must appear in person at the hearing. All other parties are permitted to appear via Zoom.
                   Please register no later than June 11, 2024, at 9:00 a.m. (Eastern Time),
      An electronic invitation, with the relevant audio or video link, will be emailed to you no later
                                  than two (2) hours prior to the hearing.


             PLEASE TAKE NOTICE that on June 7, 2024, the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) filed the following voluntary petitions (the “Petitions”)

for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532:




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      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237);
      (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
      (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical, LLC (3260); (10) H&H
      Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
      Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
      Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
      LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary, LLC (6074); (21)
      Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
      Firstcare Pharmacy, LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
      and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
      Avenue, Suite 14, Northbrook, Illinois 60062.
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A.         VOLUNTARY PETITIONs:

                                     DEBTOR’S NAME                          CASE NO.

                   1.    Optio Rx, LLC                                      24-11188
                   2.    Braun Pharma, LLC                                  24-11189
                   3.    HCP Pharmacy LLC                                   24-11190
                   4.    Pet Apothecary LLC                                 24-11191
                   5.    The Pet Apothecary LLC                             24-11192
                   6.    Crestview Holdings, LLC                            24-11193
                   7.    Crestview Pharmacy, LLC                            24-11194
                   8.    Dr. Ike’s PharmaCare LLC                           24-11195
                   9.    Enovex Pharmacy LLC                                24-11196
                   10. H&H Pharmacy LLC                                     24-11197
                   11. SMC Pharmacy LLC                                     24-11198
                   12. SMC Lyons Holdings LLC                               24-11199
                   13. SBH Medical LLC                                      24-11200
                   14. SBH Medical, Ltd.                                    24-11201
                   15. Rose Pharmacy RM LLC                                 24-11202
                   16. Rose Pharmacy SA LLC                                 24-11203
                   17. Rose Pharmacy SF LLC                                 24-11204
                   18. Baybridge Pharmacy, LLC                              24-11205
                   19. Central Pharmacy, LLC                                24-11206
                   20. Pro Pharmacy, LLC                                    24-11207
                   21. Healthy Choice Compounding LLC                       24-11208
                   22. Healthy Choice Compounding LLC                       24-11209
                   23. Oakdell Compounding Pharmacy LLC                     24-11210
                   24. Concierge Pharmacy LLC                               24-11211
                   25. Firstcare Pharmacy LLC                               24-11212


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                                        DEBTOR’S NAME                              CASE NO.

                   26. Easycare Pharmacy LLC                                       24-11213
                   27. Primecare Pharmacy LLC                                      24-11214

B.         FIRST DAY MOTIONS.

           PLEASE TAKE FURTHER NOTICE that the Debtors will present the following pleadings

(collectively, the “First Day Pleadings”) at a hybrid 2 hearing on June 11, 2024, at 10:00 a.m.

(Eastern Time) (the “Hearing”) before the Honorable Thomas M. Horan, United States

Bankruptcy Judge, 824 North Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware

19801:

           1.          Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Cases
                       and (II) Waiving Requirements of Bankruptcy Code Section 342(c)(1) and
                       Bankruptcy Rules 1005 and 2002(n) [Docket No. 4].

           2.          Debtors’ Application for the Appointment of Stretto, Inc. as Claims and Noticing
                       Agent [Docket No. 5].

           3.          Debtors’ Motion for Entry of an Order (I) Authorizing Debtors to (A) File a
                       Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for
                       Each Debtor; (B) File a Consolidated List of Top Thirty (30) Largest Unsecured
                       Creditors; and (C) Redact Certain Personally Identifiable Information of Natural
                       Persons; and (II) Granting Related Relief [Docket No. 6].

           4.          Debtors’ Motion for Entry of Interim and Final Orders Authorizing the
                       Implementation of Procedures to Maintain and Protect Confidential Health
                       Information as Required by Applicable Privacy Rules [Docket No. 7].

           5.          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Continued
                       Use of Existing Cash Management System, Bank Accounts, and Business Forms
                       and Payment of Related Prepetition Obligations; (II) Modifying Certain Deposit
                       Requirements; and (III) Authorizing Continuance of Intercompany Transactions
                       and Honoring Certain Related Prepetition Obligations [Docket No. 8].




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     The hearing will be conducted in person and utilizing Zoom. The Debtors, the lenders, and the UST must appear
     in person at the hearing. All other parties are permitted to appear by zoom.

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           6.          Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                       to Pay Certain Prepetition Claims of Critical Vendors and (II) Granting Related
                       Relief [Docket No. 9].

           7.          Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to Pay
                       Certain Prepetition Taxes and Related Obligations [Docket No. 10].

           8.          Debtors’ Motion for Entry of Interim and Final Orders (I)(A) Approving the
                       Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (B)
                       Approving the Debtors’ Proposed Procedures for Resolving Additional Assurance
                       Requests, and (C) Prohibiting Utility Providers from Altering, Refusing, or
                       Discontinuing Services; and (II) Granting Related Relief [Docket No. 11].

           9.          Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to (I)
                       Maintain Existing Insurance Policies and Pay All Insurance Obligations Arising
                       Thereunder, and (II) Renew, Revise, Extend, Supplement, Change, or Enter into
                       New Insurance Policies [Docket No. 12].

           10.         Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to Pay
                       Prepetition Wages, Compensation, and Employee Benefits [Docket No. 13].

           11.         Motion of the Debtors for Entry of Interim and Final Orders Authorizing the
                       Debtors to (A) Pay Prepetition Claims of Shippers, Warehousemen and Lien
                       Claimants, and (B) Granting Related Relief [Docket No. 16].

           12.         Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Debtors
                       to (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting
                       Adequate Protection to Prepetition Secured Lenders; (III) Modifying the Automatic
                       Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief [Docket
                       No. 17].

                       (a)    Declaration of Tadd Crane in Support of Debtors’ Motion Seeking Entry of
                              Interim and Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition
                              Financing and (B) Utilize Cash Collateral, (II) Granting Adequate
                              Protection to Prepetition Secured Lenders; (III) Modifying the Automatic
                              Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief
                              [Docket No. 18].

C.         FIRST DAY DECLARATION.

           13.         Declaration of Leo LaFranco in Support of the Debtors’ Chapter 11 Petitions and
                       First Day Pleadings [Docket No. 3].

           PLEASE TAKE FURTHER NOTICE that copies of all First Day Pleadings will be mailed in

accordance with Rule 9013-1(m) of the Local Rules of Bankruptcy Practice and Procedure for the


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United States Bankruptcy Court for the District of Delaware, and are currently available (free of

charge) on the website of the Debtors’ proposed claims and noticing agent, Stretto (“Stretto”),

dedicated to these Chapter 11 Cases, https://cases.stretto.com/OptioRX, or on the Court’s website,

https://ecf.deb.uscourts.gov. Further information may be obtained by calling Stretto’s telephone

number: (866) 515-5505 (U.S./Canada), or (949) 590-3286 (International), by email to

optiorxinquiries@stretto.com, or upon request from undersigned proposed counsel to the Debtors.

           PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day Pleadings may

be made at the First Day Hearing.

Dated: June 9, 2024                           CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware


                                                /s/ Mark D. Olivere
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                                              Proposed Counsel for Debtors and
                                              Debtors in Possession




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